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                                                           1   Thomas Myers (SBN 120674)
                                                               Email: myers@smithmyerslaw.com
                                                           2
                                                               SMITH & MYERS LLP
                                                           3   355 South Grand Avenue, Suite 2450
                                                               Los Angeles, California 90071
                                                           4
                                                               Telephone: 213.613.2380
                                                           5   Facsimile: 213.613.2395
                                                           6
                                                               Stephen B. Edwards*
                                                           7   PA Attorney I.D. No. 326453
                                                               Email: sbedwards@fairnesscenter.org
                                                           8
                                                               Nathan J. McGrath*
                                                           9   PA Attorney I.D. No. 308845
                                                               Email: njmcgrath@fairnesscenter.org
                                                          10
                                                               THE FAIRNESS CENTER
                                                          11   500 North Third Street Suite 600
                                                               Harrisburg, Pennsylvania 17101
                Tel: (213) 613-2380 Fax: (213) 613-2395




                                                          12
                 355 South Grand Avenue, Suite 2450




                                                               Telephone: 844.293.1001
                      Los Angeles, California 90071
SMITH & MYERS LLP




                                                          13   Facsimile: 717.307.3424
                                                          14
                                                               *Pro hac vice application to be filed
                                                          15
                                                               Attorneys for Plaintiff Isaac Newman
                                                          16

                                                          17
                                                                                    UNITED STATES DISTRICT COURT
                                                          18
                                                          19                FOR THE EASTERN DISTRICT OF CALIFORNIA
                                                          20

                                                          21

                                                          22
                                                               ISAAC NEWMAN,                                   Case No. ____________

                                                          23           Plaintiff,
                                                          24
                                                                                                               COMPLAINT
                                                               v.
                                                          25

                                                          26   ELK GROVE EDUCATION ASSOCIATION,                JURY TRIAL DEMANDED
                                                          27           Defendant.
                                                          28

                                                                                                       COMPLAINT
                                                                                                           1
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                                                           1                                   INTRODUCTION
                                                           2         1.      This case is about a teachers’ union creating a seat on its executive
                                                           3
                                                               board that is only open to members of certain racial groups, in direct violation of
                                                           4

                                                           5   Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e–2000e-17 (“Title

                                                           6   VII”), and the California Fair Employment and Housing Act, Cal. Gov’t Code §§
                                                           7
                                                               12900–12951, 12927–12928, 12955–12956.1, 12960–12976 (“FEHA”).
                                                           8

                                                           9         2.      The Elk Grove Education Association (“EGEA” or the “Union”),

                                                          10   which represents teachers and other certificated employees of the Elk Grove
                                                          11
                                                               Unified School District (“District”) in Sacramento, California, recently created a
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                                                               position called the “BIPOC At-Large Director” on its executive board (“BIPOC
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                                                          13

                                                          14   Position”).
                                                          15
                                                                     3.      This position comes with all the rights and privileges of being an
                                                          16

                                                          17   EGEA board member, but under EGEA’s bylaws, only persons who “self-identify”
                                                          18   as “African American (Black), Native American, Alaska Native, Native
                                                          19
                                                               Hawai’ian, Pacific Islander, Latino (including Puerto Rican), Asian, Arab, and
                                                          20

                                                          21   Middle Eastern,” can run for the position.
                                                          22         4.      Plaintiff Isaac Newman (“Newman”) is a white EGEA member who
                                                          23
                                                               wants to run for union office to address the District’s recent adoption of what he
                                                          24

                                                          25   believes to be aggressive and unnecessary Diversity, Equity & Inclusion (“DEI”)
                                                          26   policies.
                                                          27

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                                                                                                    COMPLAINT
                                                                                                         2
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                                                           1            5.    But as a white person, he is racially disqualified from filling the
                                                           2
                                                               BIPOC Position, which means he has categorically fewer opportunities to attain
                                                           3
                                                               union office than non-white EGEA members.
                                                           4

                                                           5            6.    By drawing arbitrary racial lines between its members, EGEA has
                                                           6
                                                               flagrantly violated Title VII and FEHA, both of which prohibit racial
                                                           7
                                                               discrimination by labor organizations. See 42 U.S.C. § 2000e-2(c)(1); Cal. Gov’t
                                                           8

                                                           9   Code § 12940(b).
                                                          10
                                                                        7.    Accordingly, this Court should declare the BIPOC Position unlawful,
                                                          11
                                                               enjoin EGEA from creating any similar positions in the future where candidate
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                                                          13   eligibility is, in whole or in part, based on race, and enter judgment in Newman’s
                                                          14
                                                               favor.
                                                          15
                                                                                         JURISDICTION AND VENUE
                                                          16
                                                                        8.    This Court has subject matter jurisdiction over Newman’s Title VII
                                                          17

                                                          18   claim pursuant to 28 U.S.C. §§ 1331, 1343(a)(3)–(4).
                                                          19
                                                                        9.    This Court has supplemental jurisdiction over Newman’s FEHA
                                                          20
                                                               claim pursuant to 28 U.S.C. § 1367(a).
                                                          21

                                                          22            10.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)
                                                          23
                                                               because the sole Defendant resides in this District.
                                                          24

                                                          25
                                                                                                    PARTIES

                                                          26
                                                                        11.   Plaintiff Isaac Newman is a high school history teacher at Florin

                                                          27   High School (“Florin HS”), which is a school under the authority and control of
                                                          28

                                                                                                    COMPLAINT
                                                                                                         3
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                                                           1   the District. As a person of white/Caucasian descent, Newman does not identify as
                                                           2
                                                               a member of any of the racial categories eligible to run for the BIPOC Position.
                                                           3
                                                                     12.    Defendant EGEA is a labor union affiliated with the California
                                                           4

                                                           5   Teachers Association (“CTA”) and the National Education Association (“NEA”).
                                                           6
                                                               EGEA and the District have entered into a collective bargaining agreement
                                                           7
                                                               (“CBA”) that recognizes EGEA as the exclusive collective bargaining
                                                           8

                                                           9   representative of teachers employed by the District. An authentic copy of relevant
                                                          10
                                                               portions of the CBA is attached hereto as “Exhibit A,” and incorporated by
                                                          11
                                                               reference herein.
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                                                          13                          PROCEDURAL BACKGROUND
                                                          14         13.    Before filing suit, Newman exhausted his administrative remedies
                                                          15
                                                               with the United States Equal Employment Opportunity Commission (“EEOC”)
                                                          16
                                                               and the California Civil Rights Department (“CRD”).
                                                          17

                                                          18         14.    On April 23, 2024, the EEOC and the CRD each issued a Notice of
                                                          19
                                                               Right to Sue, authentic copies of which are attached hereto as “Exhibit B,” and
                                                          20
                                                               incorporated by reference herein.
                                                          21

                                                          22         15.    Newman has filed this complaint within 90 days of receiving his
                                                          23
                                                               Notice of Right to Sue, as required by 42 U.S.C. § 2000e-5(f)(1).
                                                          24

                                                          25
                                                                                         FACTUAL ALLEGATIONS

                                                          26
                                                                                        EGEA Governance Structure

                                                          27
                                                                     16.    EGEA is governed by two elected bodies: the Executive Board and

                                                          28   the Representative Council.
                                                                                                    COMPLAINT
                                                                                                        4
                                                               Case 2:24-cv-01487-WBS-SCR Document 1 Filed 05/24/24 Page 5 of 18


                                                           1         17.      Broadly speaking, the Representative Council formulates policy
                                                           2
                                                               objectives for EGEA that the Executive Board then implements.
                                                           3
                                                                     18.      While subject to policies set by the Representative Council, the
                                                           4

                                                           5   Executive Board also possesses significant power and discretion in conducting
                                                           6
                                                               EGEA’s day-to-day business.
                                                           7
                                                                     19.      For example, EGEA’s bylaws empower the Executive Board to
                                                           8

                                                           9   “direct the bargaining . . . [and] grievance activities of the Association.” EGEA
                                                          10
                                                               Bylaws Art. IX(E)(8)–(9). An authentic copy of the Bylaws is attached hereto as
                                                          11
                                                               “Exhibit C,” and incorporated by reference herein.
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                                                          13         20.      Additionally, while the Representative Council is primarily
                                                          14
                                                               composed of elected representatives from defined faculty groups, every member
                                                          15
                                                               of the Executive Board is also a member of the Representative Council. Ex. C,
                                                          16

                                                          17   Art. VI(B)(1).
                                                          18
                                                                     21.      The Executive Board consists of the following positions, all of which
                                                          19
                                                               are chosen by general election of the EGEA membership:
                                                          20

                                                          21               a. The President, Vice President, and Secretary-Treasurer of EGEA;
                                                          22
                                                                           b. Eleven (11) “At-Large Directors,” nine of whom represent specific
                                                          23

                                                          24
                                                                              educational levels like “Middle School” and “Special Education,”

                                                          25                  one of whom is the “Member-at-Large Director,” and one of whom is
                                                          26
                                                                              the “BIPOC At-Large Director.”
                                                          27

                                                          28

                                                                                                     COMPLAINT
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                                                           1                       The “BIPOC At-Large” Executive Board Position
                                                           2             22.    In March 2023, the Executive Board presented a proposal to the
                                                           3
                                                               Representative Council to create a “BIPOC At-Large” position (“BIPOC
                                                           4
                                                               Position”) on the Executive Board. An authentic copy of the BIPOC Position
                                                           5

                                                           6   Proposal is attached hereto as “Exhibit D,” and incorporated by reference herein.
                                                           7
                                                                         23.    The proposal indicated that the individual filling the BIPOC Position
                                                           8
                                                               would be responsible for “address[ing] the racial equity needs of all EGEA
                                                           9

                                                          10   members” but would also have the same rights and duties as other members of the
                                                          11
                                                               Executive Board. Ex. D at 1.
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                                                                         24.    The proposal explicitly limited eligibility for the BIPOC Position to
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                                                          13

                                                          14   individuals who “self-identif[y] as a member of one or more of the racial/ethnic
                                                          15
                                                               categories of Latinos (including Puerto Ricans), African Americans, Asian
                                                          16
                                                               Americans, Arab and other Middle Eastern Americans, Native Americans, Native
                                                          17

                                                          18   Hawai’ians and other Pacific Islanders, and Alaska Natives.” 1 Id.
                                                          19
                                                                         25.    At a meeting held on April 4, 2023, the Representative Council voted
                                                          20
                                                               to approve creation of the BIPOC Position.
                                                          21

                                                          22             26.    To effectuate this decision, the Council had to amend the portion of
                                                          23
                                                               EGEA’s bylaws that structures the Executive Board.
                                                          24

                                                          25
                                                               ///

                                                          26

                                                          27
                                                               1
                                                                   Hereinafter, this series of racial/ethnic categories will be abbreviated as “BIPOC categories.”
                                                          28

                                                                                                             COMPLAINT
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                                                           1           27.   CTA Standing Rules require local affiliates like EGEA to submit
                                                           2
                                                               proposed bylaw changes to CTA for review and to read the proposed amendments
                                                           3
                                                               aloud at two subsequent Council meetings.
                                                           4

                                                           5           28.   The first reading occurred at a Council meeting held on October 3,
                                                           6
                                                               2023.
                                                           7
                                                                       29.   CTA approved the proposed changes to EGEA’s bylaws at some point
                                                           8

                                                           9   before this date.
                                                          10
                                                                       30.   The second reading occurred at a Council meeting held on November
                                                          11
                                                               7, 2023.
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                                                          13           31.   At this meeting, the Council held another vote to approve the bylaw
                                                          14
                                                               amendments creating the BIPOC Position, which made them final and binding as
                                                          15
                                                               of November 7, 2023.
                                                          16

                                                          17           32.   Consistent with the original proposal, the amended bylaws place
                                                          18
                                                               explicit racial limits on eligibility for the BIPOC Position. Ex. C, Art. IX(C)(6)
                                                          19
                                                               (“The BIPOC At-Large Director shall be a self-identified member of one or more
                                                          20

                                                          21   of the [BIPOC categories].”).
                                                          22
                                                                                   EGEA Election to Fill the BIPOC Position
                                                          23
                                                                       33.   On November 9, 2023, EGEA leadership sent an email to members
                                                          24

                                                          25
                                                               announcing a special election to fill the newly created BIPOC Position.

                                                          26           34.   Candidates for the position had to be nominated or nominate
                                                          27
                                                               themselves through a form included with the email (“Nomination Form”). An
                                                          28

                                                                                                   COMPLAINT
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                                                           1   authentic copy of the Nomination Form is attached hereto as “Exhibit E,” and
                                                           2
                                                               incorporated by reference herein.
                                                           3
                                                                     35.    The Nomination Form contained a section requiring the nominating
                                                           4

                                                           5   party to affirm that the nominee is a member of one of the BIPOC categories. Ex.
                                                           6
                                                               E at 2 (“The BIPOC At-Large Representative position is open to EGEA members
                                                           7
                                                               who are a self-identified member of one or more of the following racial/ethnic
                                                           8

                                                           9   categories . . . Check below to confirm that the nominee above fits this
                                                          10
                                                               description.”).
                                                          11
                                                                     36.    EGEA also required candidates to submit a biographical sketch
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                                                          13   introducing themselves to potential voters.
                                                          14
                                                                     37.    EGEA indicated voting in the special election would take place from
                                                          15
                                                               December 13–22, 2023.
                                                          16

                                                          17      Newman is Racially Disqualified from Running for the BIPOC Position
                                                          18         38.    As a longtime educator with the District, Newman is disturbed by its
                                                          19
                                                               recent adoption of various DEI practices that he believes distract from the
                                                          20
                                                               District’s core function of educating students.
                                                          21

                                                          22         39.    Newman believes EGEA has supported and contributed significantly
                                                          23
                                                               to these DEI efforts and has accordingly lost sight of its primary role as an
                                                          24

                                                          25
                                                               advocate for teachers.

                                                          26

                                                          27

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                                                                                                    COMPLAINT
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                                                           1         40.   To have a voice in these policy shifts by both the District and EGEA,
                                                           2
                                                               Newman sought to run for the BIPOC position in the December 2023 special
                                                           3
                                                               election.
                                                           4

                                                           5         41.   In preparation for declaring his candidacy, Newman typed multiple
                                                           6
                                                               drafts of the required biographical sketch and sent them to friends for
                                                           7
                                                               proofreading.
                                                           8

                                                           9         42.   Newman also discussed his potential candidacy with family and
                                                          10
                                                               friends in numerous conversations.
                                                          11
                                                                     43.   Ultimately, however, Newman was prohibited from submitting his
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                                                          13   name as a candidate because he was unwilling to falsely affirm that he identifies
                                                          14
                                                               as a member of the BIPOC categories, as required by the Nomination Form.
                                                          15
                                                                     44.   EGEA proceeded with the special election in December 2023 and its
                                                          16

                                                          17   members selected Gia Moreno Cruz, a person who self-identifies as being of
                                                          18
                                                               Native American and Chicana descent, to fill the BIPOC position.
                                                          19
                                                                     45.   To this day, Newman has an ongoing desire to attain union office as a
                                                          20

                                                          21   means of pushing back against EGEA’s and the District’s deepening involvement
                                                          22
                                                               with DEI.
                                                          23

                                                          24
                                                                     //

                                                          25         //
                                                          26
                                                                     //
                                                          27

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                                                                                                    COMPLAINT
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                                                           1                                    Interstate Commerce
                                                           2          46.      Title VII’s prohibition against racial discrimination applies to “labor
                                                           3
                                                                organization[s] engaged in an industry affecting commerce . . . .” 42 U.S.C. §
                                                           4
                                                                2000e(d).
                                                           5

                                                           6          47.      The statute defines “industry affecting commerce” as “any activity,
                                                           7
                                                                business, or industry in commerce or in which a labor dispute would hinder or
                                                           8
                                                                obstruct commerce or the free flow of commerce . . . and further includes any
                                                           9

                                                          10    governmental industry, business, or activity.” 42 U.S.C. § 2000e(h).
                                                          11
                                                                      48.      In addition to this broad definition, Title VII provides that a labor
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                                                                organization “shall be deemed to be engaged in an industry affecting commerce”
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                                                          13

                                                          14    if it has fifteen or more members and is “acting as the representative of employees
                                                          15
                                                                of an employer . . . engaged in an industry affecting commerce . . . .” 42 U.S.C. §
                                                          16
                                                                2000e(e)(2).
                                                          17

                                                          18          49.      EGEA has more than fifteen members.
                                                          19
                                                                      50.      EGEA represents teachers and all other “certificated employees” of
                                                          20
                                                                the District. See Ex. A at 2 (recognizing EGEA “as the exclusive representative of
                                                          21

                                                          22    all certificated employees of the Elk Grove Unified School District”).
                                                          23
                                                                      51.      As a government employer, the District qualifies as an “employer . . .
                                                          24

                                                          25
                                                                engaged in an industry affecting commerce,” 42 U.S.C. § 2000e(e)(2), because

                                                          26    Title VII defines “industry affecting commerce” to include “any governmental
                                                          27
                                                                industry, business, or activity.” 42 U.S.C. § 2000e(h) (emphasis added).
                                                          28

                                                                                                       COMPLAINT
                                                                                                           10
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                                                           1          52.      Accordingly, because it represents employees of an employer that is
                                                           2
                                                                definitionally “engaged in an industry affecting commerce,” EGEA has the
                                                           3
                                                                requisite connection to interstate commerce to bring it within Title VII’s purview.
                                                           4

                                                           5    42 U.S.C. § 2000e(e)(2).
                                                           6
                                                                      53.      Furthermore, even if Title VII did not specifically presume that
                                                           7
                                                                government employers are engaged in an “industry affecting commerce,” the
                                                           8

                                                           9    District would nonetheless satisfy the Statute’s broad definition of that term. 42
                                                          10
                                                                U.S.C. § 2000e(h).
                                                          11
                                                                      54.      The District and its agents regularly engage in numerous activities
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                                                          13    that affect interstate commerce, including but not limited to:
                                                          14
                                                                            a. Procurement of educational materials and equipment from suppliers
                                                          15
                                                                               outside California;
                                                          16

                                                          17                b. Procurement of cafeteria food from national vendors;
                                                          18
                                                                            c. Contracting with out-of-state vendors for employee training and
                                                          19
                                                                               information technology services; and
                                                          20

                                                          21                d. Sending teachers and administrators on interstate trips to observe
                                                          22
                                                                               educational practices and techniques at school districts around the
                                                          23

                                                          24
                                                                               country.

                                                          25          55.      The District purchases textbooks from publishers outside California,
                                                          26
                                                                including New York-based W.W. Norton & Co.
                                                          27

                                                          28

                                                                                                      COMPLAINT
                                                                                                          11
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                                                           1          56.    The District purchases teacher desks from the HON Company, an
                                                           2
                                                                Iowa-based company with manufacturing facilities in Iowa and Georgia.
                                                           3
                                                                      57.    The District has contracted with numerous out-of-state providers of
                                                           4

                                                           5    online learning services, including Newsela, a New York-based company whose
                                                           6
                                                                platform adapts news stories to different student reading levels, and ProQuest, a
                                                           7
                                                                Michigan-based provider of online educational databases.
                                                           8

                                                           9          58.    During the 2022–2023 school year, the District contracted with the
                                                          10
                                                                Utah-based Arbinger Institute to provide training on leadership and workplace
                                                          11
                                                                culture at Florin HS.
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                                                          13          59.    The District also relies on out-of-state vendors for various electronic
                                                          14
                                                                devices, including desk phones from MiTel, a Canadian company, and classroom
                                                          15
                                                                clocks from Sapling, which is based in Pennsylvania.
                                                          16

                                                          17          60.    The District sources cafeteria food from national brands like
                                                          18
                                                                Smucker’s and Cool Tropics that are headquartered outside California and have
                                                          19
                                                                extensive interstate operations.
                                                          20

                                                          21          61.    Finally, the District periodically pays for interstate travel by
                                                          22
                                                                administrators and teachers, usually for the purpose of learning new educational
                                                          23

                                                          24
                                                                techniques and methods.

                                                          25          62.    Examples of this travel include an October 2022 trip to observe
                                                          26
                                                                aspects of the Nashville, Tennessee public school system and a September 2023
                                                          27

                                                          28
                                                                trip to the Ron Clark Academy in Atlanta, Georgia.

                                                                                                     COMPLAINT
                                                                                                         12
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                                                           1          63.    In addition to its connection with the District, EGEA is also “engaged
                                                           2
                                                                in an industry affecting commerce” by virtue of its affiliation with CTA and NEA.
                                                           3
                                                                      64.    Title VII deems a labor organization to be “engaged in an industry
                                                           4

                                                           5    affecting commerce” if it “has been chartered by a labor organization representing
                                                           6
                                                                or actively seeking to represent employees [of an employer engaged in an industry
                                                           7
                                                                affecting interstate commerce] as the local or subordinate body through which
                                                           8

                                                           9    such employees may enjoy membership or become affiliated with such labor
                                                          10
                                                                organization . . . .” 42 U.S.C. § 2000e(e)(4).
                                                          11
                                                                      65.    EGEA “has been chartered by” CTA, which is a statewide “labor
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                                                          13    organization representing or actively seeking to represent” employees of
                                                          14
                                                                California public schools. 42 U.S.C. § 2000e(e)(4); see also Ex. B, Art. III.A
                                                          15
                                                                (providing that EGEA “shall be a chartered chapter of the California Teachers
                                                          16

                                                          17    Association”).
                                                          18
                                                                      66.    EGEA is similarly affiliated with NEA, which represents educators
                                                          19
                                                                nationwide. See Ex. B, Art. III.B. (providing that EGEA “shall be an affiliate local
                                                          20

                                                          21    association of the National Education Association”).
                                                          22
                                                                      67.    The public schools whose employees CTA and NEA “represent[]
                                                          23

                                                          24
                                                                [and] seek[] to represent” have interstate activities similar to the District, in that

                                                          25    they rely on out-of-state vendors and suppliers to facilitate their daily operations.
                                                          26
                                                                42 U.S.C. § 2000e(e)(4).
                                                          27

                                                          28

                                                                                                      COMPLAINT
                                                                                                          13
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                                                           1          68.    Thus, by virtue of its connection to these organizations, EGEA “shall
                                                           2
                                                                be deemed to be engaged in an industry affecting commerce . . . .” Id.
                                                           3
                                                                                              CLAIMS FOR RELIEF
                                                           4
                                                                                                    COUNT ONE
                                                           5

                                                           6     Violation of Title VII of the Civil Rights Act of 1964 – Racial Discrimination
                                                                                by Labor Organization – 42 U.S.C. § 2000e-2(c)
                                                           7

                                                           8          69.    Title VII of the Civil Rights Act of 1964 makes it unlawful for a
                                                           9
                                                                “labor organization” to “discriminate against . . . any individual because of his
                                                          10
                                                                race, color, religion, sex, or national origin . . . .” 42 U.S.C. § 2000e-2(c)(1).
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                                                          12          70.    Under this provision, labor unions “may not limit eligibility for
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                                                          13
                                                                [union] office to persons of a particular race . . . .” 29 C.F.R. § 452.46; see also
                                                          14
                                                                Shlutz v. Loc. 1291, Int’l Longshoremen’s Ass’n, 338 F. Supp. 1204, 1207–08
                                                          15

                                                          16    (E.D. Pa. 1972), aff’d, 461 F.2d 1262 (3d Cir. 1972).
                                                          17
                                                                      71.    Regrettably, EGEA has done exactly that by creating the BIPOC
                                                          18
                                                                Position, a union board seat with express racial eligibility criteria. See Ex. B, Art.
                                                          19

                                                          20    IX(C)(6) (“The BIPOC At-Large Director shall be a self-identified member of one
                                                          21
                                                                or more of the [BIPOC categories].”).
                                                          22
                                                                      72.    As such, EGEA unlawfully “discriminate[d] against [Newman]
                                                          23

                                                          24    because of his race” by creating a position on its Executive Board for which he is
                                                          25
                                                                racially disqualified because he is white. 42 U.S.C. § 2000e-2(c)(1).
                                                          26

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                                                           1           73.    Newman intended to run for the BIPOC Position in the December
                                                           2
                                                                2023 special election but was prohibited from doing so by EGEA’s race-based
                                                           3
                                                                eligibility criteria.
                                                           4

                                                           5           74.    Thus, EGEA deprived Newman of a specific opportunity to run for
                                                           6
                                                                an Executive Board seat based on the color of his skin.
                                                           7
                                                                       75.    Furthermore, the existence of the BIPOC position constitutes
                                                           8

                                                           9    ongoing unlawful discrimination because it permanently damages Newman’s
                                                          10
                                                                future prospects of attaining a union leadership role.
                                                          11
                                                                       76.    As currently constituted, EGEA’s Executive Board has 14 seats,
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                                                          13    including the BIPOC Position. Ex. B, Art. IX(A).
                                                          14
                                                                       77.    EGEA’s bylaws place racially neutral limitations on who may run for
                                                          15
                                                                the “Special Education At-Large” and “Member-at-Large” seats. Id., Art. IX(C)(4)
                                                          16

                                                          17    (“The Special Education At-Large Director must hold a caseload position
                                                          18
                                                                servicing special education students . . . .”); Id., Art. IX(C)(5) (“The Member-at-
                                                          19
                                                                Large Director must hold a district position other than classroom teacher . . . .”).
                                                          20

                                                          21           78.    Thus, at present, a person who self-identifies as being of BIPOC
                                                          22
                                                                descent may run for any of the 14 seats for which she is eligible based on her job
                                                          23

                                                          24
                                                                description, but a white individual such as Newman is only eligible for 13 of the

                                                          25    seats. See Ex. B, Art. IX(C)(6) (“The BIPOC At-Large Director shall be a self-
                                                          26
                                                                identified member of one or more of the [following] racial categories . . . .”).
                                                          27

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                                                           1            79.   The existence of the BIPOC position unlawfully places white
                                                           2
                                                                individuals such as Newman in a segregated class of persons who have fewer
                                                           3
                                                                opportunities to attain leadership roles within EGEA.
                                                           4

                                                           5            80.   To further his goal of addressing the District’s and EGEA’s adoption
                                                           6
                                                                of DEI policies, Newman has an ongoing desire to attain union office but is
                                                           7
                                                                limited in his ability to achieve that objective by EGEA’s decision to create a
                                                           8

                                                           9    racially divided Executive Board.
                                                          10
                                                                                                    COUNT TWO
                                                          11
                                                                      Violation of the California Fair Employment and Housing Act – Racial
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                                                                       Discrimination by Labor Organization – Providing Second-Class or
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                                                          13                  Segregated Membership – Cal. Gov’t Code § 12940(b)
                                                          14
                                                                        81.   Like Title VII, FEHA prohibits a “labor organization” from
                                                          15
                                                                “discriminat[ing] . . . against any of its members” on the basis of protected
                                                          16

                                                          17    characteristics, including race. Cal. Gov’t Code § 12940(b).
                                                          18
                                                                        82.   FEHA also specifically prohibits “discriminat[ion] against any person
                                                          19
                                                                because of . . . race . . . in the election of officers of the labor organization . . . .”
                                                          20

                                                          21    Id.
                                                          22
                                                                        83.   FEHA additionally prohibits labor organization from “provid[ing] . . .
                                                          23

                                                          24
                                                                second-class or segregated membership” based on race. Id.

                                                          25            84.   EGEA violated all three of these clauses by creating the BIPOC
                                                          26
                                                                Position.
                                                          27

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                                                           1          85.    By racially disqualifying all white persons from running for the
                                                           2
                                                                BIPOC Position, EGEA has discriminated against Newman “in the election of
                                                           3
                                                                officers of the labor organization” based on his race. Id.
                                                           4

                                                           5          86.    Additionally, the racially segregated composition of EGEA’s
                                                           6
                                                                Executive Board subjects Newman to “second-class or segregated membership” in
                                                           7
                                                                that, as a white person, EGEA provides him with fewer opportunities to attain
                                                           8

                                                           9    union office than persons of BIPOC descent. Id.
                                                          10
                                                                      87.    To further his goal of addressing the District’s and EGEA’s adoption
                                                          11
                                                                of DEI policies, Newman has an ongoing desire to attain union office but is
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                                                          13    limited in his ability to achieve that objective by EGEA’s decision to create a
                                                          14
                                                                racially divided Executive Board.
                                                          15
                                                                prayer for relief
                                                          16

                                                          17
                                                                      WHEREFORE, Newman asks that this Court:
                                                          18
                                                                      A.     Declare that EGEA’s creation of the BIPOC Position violated Title
                                                          19
                                                                VII and FEHA’s prohibitions against racial discrimination by labor organizations,
                                                          20

                                                          21    42 U.S.C. § 2000e-2(c)(1), Cal. Gov’t Code § 12940(b), and that the continued
                                                          22
                                                                existence of the BIPOC Position constitutes ongoing, unlawful racial
                                                          23
                                                                discrimination;
                                                          24

                                                          25          B.     Order EGEA to amend its bylaws to either remove all race-based
                                                          26
                                                                eligibility criteria for the BIPOC Position or eliminate the position altogether;
                                                          27

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                                                           1          C.     Enter an injunction prohibiting EGEA from creating any future
                                                           2
                                                                elected offices limited to persons of particular racial groups;
                                                           3
                                                                      D.     Award Newman compensatory and nominal damages based on
                                                           4

                                                           5    Defendants’ violations of Title VII and FEHA;
                                                           6
                                                                      E.     Award Newman attorney’s fees and costs pursuant to Title VII and
                                                           7
                                                                FEHA as the “prevailing party” in this action, 42 U.S.C. § 2000e-5(k), Cal. Gov’t
                                                           8

                                                           9    Code § 12965(c)(6);
                                                          10
                                                                      F.     Award Newman punitive damages under Title VII and FEHA based
                                                          11
                                                                on racial discrimination by EGEA that was willful, malicious, and/or recklessly
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                                                          13    indifferent to Newman’s statutorily protected rights, 42 U.S.C. § 1981a(a)(1), Cal.
                                                          14
                                                                Civ. Code § 3294(a); and
                                                          15
                                                                      G.     Grant such other relief as the Court may deem just and proper.
                                                          16

                                                          17
                                                                                           Respectfully submitted,
                                                          18
                                                          19
                                                                Date: 5/24/2024            By /s/ Thomas Myers
                                                          20                                         Thomas Myers
                                                          21

                                                          22                               Attorney for Plaintiff Isaac Newman
                                                          23

                                                          24

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                                                                                                      COMPLAINT
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